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                                 Giants                      September 8, 2021            jnolan@pszjlaw.com
                                Jeffrey P. Nolan




L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
W I L M I N G T O N, D E
                                The Honorable Joan M. Azrack
N E W Y O R K, N Y              United States District Court
                                Eastern District of New York
10100 SANTA MONICA BLVD.
13th FLOOR                      Long Island Courthouse
LOS ANGELES                     100 Federal Plaza
CALIFORNIA 90067
                                Central Islip, NY 11722
TELEPHONE:      310/277 6910

FACSIMILE:   310/201 0760                   Re:    In re: Orion HealthCorp, Inc., et al.
                                                   2 River Terrace Apartment 12J, LLC v.
                                                   Ehrenberg, Case No. 2:21-cv-01239-JMA

                                Dear Judge Azrack:

                                        We are counsel for Howard M. Ehrenberg in his capacity as
                                Liquidating Trustee of Orion Healthcorp, Inc., et al. (the “Appellee”)
                                in the above referenced appeal.
SAN FRANCISCO
150 CALIFORNIA STREET
                                        This is an appeal by Defendant 2 River Terrace Apartment
15th FLOOR                      12J, LLC (“Appellant”) from a judgment of the United States
SAN FRANCISCO                   Bankruptcy Court, Eastern District of New York, (the “Court”)
CALIFORNIA 94111-4500
                                avoiding the transfer of title of a residential condominium unit located
TELEPHONE: 415/263 7000         at 2 River Terrace Apartment 12J, New York, N.Y, (“Condominium
FACSIMILE: 415/263 7010
                                Unit”) to Appellant (the “Transfer”) which was acquired utilizing
                                $5,603,408.81, diverted from the bank account of Debtor,
DELAWARE
                                Constellation Healthcare Technologies, Inc. (“CHT”). Appellant, a
919 NORTH MARKET STREET
17th FLOOR
                                single asset corporation bearing the name of the address of the
P.O. BOX 8705                   Condominium Unit, was formed on the day of the Transfer to receive
WILMINGTON                      the Condominium Unit. The appeal contended there were a number of
DELAWARE 19899-8705
                                errors made in granting the summary judgment motion “to improperly
TELEPHONE: 302/652 4100         deprive Appellant, 2 River Terrace Apartment 12J, LLC of the
FACSIMILE: 302/652 4400
                                ownership of its sole asset”. (Reply Brief of Appellant, D.I. 15, pg. 3)
NEW YORK                               On June 25, 2021, the Court entered its Order Granting
780 THIRD AVENUE
36th FLOOR
                                Liquidating Trustee's (I) Motion For Entry Of An Order Authorizing
NEW YORK                        The Sale Of Apartment 12J Located At 2 River Terrace, New York,
NEW YORK 10017-2024             N.Y., Free And Clear Of Liens, Claims, And Encumbrances And (II)
TELEPHONE: 212/561 7700         Application For Entry Of An Order Authorizing And Approving
FACSIMILE: 212/561 7777         Payment To The Residential Board And Of Sales Commission Upon

WEB:   www.pszjlaw.com

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                     Closing (the “Sale Order"). [Bankr. D.I. 975] There was no appeal or
                     stay of the Sale Order.

                               The Sale was consummated on August 26, 2021, at which time
                     title to the Condominium Unit passed to the new buyer on the terms
                     set forth and approved by the Bankruptcy Court including the
                     satisfaction of numerous liens levied upon the Condominium Unit. It
                     is well established that an appeal is rendered moot if the appellate
                     court is unable to grant any effective relief. In re Baker, 339 B.R. 298,
                     302 (E.D.N.Y. 2005) citing to U.S. v. Salerno, 932 F.2d 117, 123 (2d
                     Cir. 1991); Mills v. Green, 159 U.S. 651, 653, 16 S. Ct. 132, 40 L. Ed.
                     293 (1895). In the present case, the appeal seeks to reverse the transfer
                     of the Condominium Unit to a good faith purchaser who is entitled to
                     rely on the finality of a bankruptcy court order and which renders
                     moot any relief sought in the appeal. United States v. Salerno, 932
                     F.2d 117,123 (2nd Cir. 1991); In re Gucci, 105 F.3d 837, 840 (2nd Cir.
                     1997).

                           Appellee requests permission to file a Motion to Dismiss the
                     Appeal.

                                                    Respectfully submitted,

                                                    /s/ Jeffrey P. Nolan

                                                    Jeffrey P. Nolan

                     JPN:rlm

                     cc: Maryam Hadden, Esq. (Via email)
                         (Counsel for Appellant)




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